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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

SUZANNE DAKESSIAN,             )
                               )
     Plaintiff,                )                     CASE NO.: 1:17-CV-01151-GMS
                               )
             v.                )                     JURY TRIAL DEMANDED
                               )
WILLIAM SCHELL, IV, DOMINICK   )
DAFFNER, WORLD CHAMPIONSHIP    )
PUNKIN’ CHUNKIN’ INC., PUNKIN  )
CHUNKIN ASSOCIATION, FRANK     )
PEYTON, FRANK SHADE, TERRY     )
BREWSTER, DAVID QUIGLEY,       )
MCCULLEY, EASTHAM &            )
ASSOCIATES, INC., WHEATLEY     )
FARMS, INC., E. DALE WHEATLEY, )
JEFFREY T. WHEATLEY, DISCOVERY )
COMMUNICATIONS, INC.; STATE OF )
DELAWARE; and the STATE OF     )
DELAWARE (DEPARTMENT OF        )
NATURAL RESOURCES AND          )
ENVIRONMENTAL CONTROL);        )
                               )
     Defendants.               )

               NOTICE OF SERVICE OF PLAINTIFF’S SUPPLEMENT
            TO INITIAL DISCLOSURES PURSUANT TO FED. R. CIV. P. 26

        Please take notice that on October 17, 2018, Plaintiff’s Supplement to Initial

Disclosures pursuant to Rule 26 of the Federal Rules of Civil Procedure was served upon all

counsel of record via electronic mail. The supplemental information is listed below:

Expert Witnesses/Treating Physicians:

   1.   Alex Bohanna - Remote Trauma;
   2.   Christopher Brand - Crane Engineering;
   3.   Simone Betchin, M.D. - Neurosurgery;
   4.   Kenneth McCollough, M.D. - Orthopedic Surgery;
   5.   Wayne Gordon, M.D. - Neuropsychology;
   6.   Vincent Vicci Jr., O.D. - Neuro-Optometrist;
   7.   Edmund Provder - Life Care Planning/Vocational Rehabilitation;
   8.   Richard Lacy, M.D. - Psychiatry;
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   9. Andrew C. Verzilli, M.B.A. - Economics; and
   10. Adrienne Meljian, Phd. - Social Worker/Therapist.

Dated: October 19, 2018                     THE deBRUIN FIRM LLC

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                               CERTIFICATE OF SERVICE

       I, David W. deBruin, hereby certify that on October 19, 2018, I caused a copy the

forgoing Notice of Service to be served upon all counsel of record via CM-ECF.


                                                   /s/ David W. deBruin
                                                   David W. deBruin, Esq. (#4846)
